          Case 1:21-cv-03217-CJN Document 15-4 Filed 04/22/22 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

MARK MEADOWS,                         )
                                      )
              Plaintiff,              )
                                      )
     v.                               )     Case No. 1:21-cv-3271-CJN
                                      )
NANCY PELOSI, et al.                  )
                                      )
                                      )




                                 Exhibit C
                 Case 1:21-cv-03217-CJN Document 15-4 Filed 04/22/22 Page 2 of 2
Message
From:          Mark Meadows [congressnc@gmail .com]
Sent:          11/30/2020 11:22:39 AM
To:            Jason Miller [jmiller@donaldtrump.com]
Subject:       Re: Draft release, linked letter



Go for it

Sent from my iPhone

> On Nov 30, 2020, at 11:08 AM, Jason Miller <jmiller@donaldtrump.com> wrote:

> Hyperlinks will go to the attached letter,        and the revised press release for ASAP approval is below.

> Thank you!

> - November 30, 2020 -

> Trump Campaign Sends 5th Request to Georgia Secretary of State for Signature Audit
> For the fifth time, the Trump Campaign has requested that the Georgia Secretary of State perform an
immediate audit of the signatures on all absentee ballot applications and absentee ballot envelopes
received for the November 3rd General Election. The Trump campaign estimates that between 38,250 and
45,626 illegal votes from the absentee ballots alone were cast in the state of Georgia - far beyond the
Biden-Harris ticket's current margin of 12,670 votes.

> The Trump Campaign has substantial evidence of other violations of Georgia's Election Code and numerous
other serious discrepancies in voting across the state which call into question the validity of the
Secretary of State's certification of the presidential election.
> Trump Campaign attorneys requested that the Georgia Secretary of State uphold his duty to preserve the
legitimacy of his state's elections, saying: "It is not possible for you to accurately certify the
results in the presidential race from the November 3, 2020, election until and unless there is a thorough
audit of the signatures, which we have now requested four times in writing prior to this request. You
cannot in good faith conclude the ongoing statutory recount until you have instituted a signature
matching audit," said Ray S. Smith, III, Counsel to Donald J. Trump for President, Inc.

> "Until the signatures are matched, the vote count in Georgia is a complete fraud," added former New
York City Mayor and Personal Attorney to President Trump, Rudy Giuliani. "There is no way of knowing
which ballots are honest and which ballots are fraudulent."

> Click here to read the full letter.

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> <11-30 -2020 Letter to the Hon. Brad Raffensperger RE Fifth Request for Signature Matching Audit_l.pdf>




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